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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION
JULIO GARCIA,
Plaintiff,
Case No.:
_VS_
SANTANDER CONSUMER
USA, INC.,
Defendant.
/
COMPLAINT

Plaintiff, JULIO GARCIA, by and through her undersigned counsel, sues the Defendant,
SANTANDER CONSUMER, USA, INC., and in support thereof respectfully alleges the following:
l. Plaintiff alleges violation of the Telephone Consumer Protection Act, 47 U.S.C. §227 et seq.
(“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et seq.
(“FCCPA”).
INTRODUCTION

2. The TCPA Was enacted to prevent companies like SANTANDER CONSUMER USA, lNC.
from invading American citizen’s privacy and prevent abusive “robo-calls.”

3. “The TCPA is designed to protect individual consumers from receiving intrusive and
unwanted telephone calls.” Mims v. Arrow Fl`n. Servs., LLC, -US--, 132 S.Ct., 740, 745, lSl, L.Ed.
2d 881 (2012).

4. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256 scourge of
modern civilization, they Wake us up in the morning; they interrupt our dinner at night; they force
the sick and elderly out of bed; they hound us until We Want to rip the telephone out of the Wall.”’

137 Cong. Rec. 30, 821 (l99l). Senator Hollings presumably intended to give telephone subscribers

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another option: telling the autodialers to simply stop calling.” Osorio v. State Farm Bank, F.S.B.,

746 F. 3d 1242 (11“‘ Cir. 2014).

 

 

JURISDICTION AND VENUE
5. Jurisdiction and venue for purposes of this action are appropriate and conferred by 28 U.S.C.
§133 l .
6. The alleged violations described in the Complaint occurred in Hillsborough County, Florida.

FACTUAL ALLEGATIONS

7. Plaintiff is a natural person, and citizen of the State of Florida, residing in Hillsborough
County, Florida
8. Plaintiff is a “consumer” as defined in Florida Statute 559.55(8).

9. Plaintiff is an “alleged debtor.”

lO. Plaintiff is the “called party.” See Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637,
643 (7th Cir. 2012), reh'g denied (May 25, 2012).

ll. “The TCPA is designed to protect individual consumers from receiving intrusive and
unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct. 740, 745, 181 L.Ed.2d
881 (2012).

l2. Defendant, SANTANDER CONSUMER USA, INC. (“SANTANDER”), is a corporation
Which Was formed in Illinois With its principal place of business at 1601 Elm Street, Suite 800,
Dallas, Texas 75201 and conducting business in the state of Florida through its registered agent, C
T Corporation System, 1200 South Pine Island Road, Plantation, Florida 33324.

13. The debt that is the subject matter of this complaint is a “consumer debt” as defined by
Florida Statute §559.55(6).

l4. In the summer of 2013, Plaintiff purchased a vehicle. SANTANDER is the lender for

Plaintiff’ s car loan.

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15. ln the latter part of 2013, SANTANDER began bombarding the Plaintiff With calls to
Plaintiff’s cell phone in an attempt to collect on the car loan.
l6. In approximately January of 2014, Plaintiff told SANTANDER not to call him on his cell
phone anymore because it Was using up his minutes SANTANDER advised the Plaintiff that the
calls Would not cease until Plaintift’ s loan payments Were current
17. On February 15, 2014, Plaintiff sent a letter to SANTANDER indicating that he had
repeatedly requested SANTANDER to not call his cell phone, and instructed SANTANDER to not
call his cell phone number any more. § Exhibit “A” attached hereto. Despite Plaintiff’s request,
the calls continued.
18. On June 29, 2014, Plaintiff sent another letter to SANTANDER again requesting that
SANTANDER cease the telephone calls to his cell phone, indicating:

“Your automated systems and representatives call my cell phone so many times a

day. At least 2-4 times a day Wasting my minutes I have spoken With a few

representatives and have asked them to please stop and they have mentioned that

they can’t that the systems are automatic set up to annoy people to pay. Please do

not call my number any more. l Will contact you.”
§ Exhibit “B” attached hereto. Despite PlaintifF s request, the calls continued.
19. On December 20, 2014, Plaintiff sent his third letter to SANTANDER, requesting that
SANTANDER stop calling him. _S_e_e Exhibit “C” attached hereto. However, as before, Plaintiff’s
attempts to get the harassment to stop Were in vain, as the calls continued unrelenting and are
continuing to this day.
20. In a small sample of this harassing campaign, SANTANDER called the Plaintiff over 100

times since January of 2015 in an attempt to collect a debt. The calls are continuing up to the filing

of this complaint

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21. While Plaintiff did not keep contemporaneous detailed records of all the autodialer calls
made by Defendant to Plaintiff’s cellular telephone number, attached hereto as Exhibit “D” is a list
is a sample of some of calls to Plaintiffs cellular telephone from Defendant between January 16,
2015 and February 9, 2015 showing 91 calls during that time frame. The Court in Nelson v.
Santander Consumer, USA, lnc., at 931 F.Supp.2d 919, found that the Defendant used an Automatic
Telephonic Dialing System and/or predictive dialer within the scope of § 227(a)(1) and the FCC’s
order.

22. Each of the autodialer calls that SANTANDER made to Plaintiff`s cellular telephone after
January 20, 2014 after he had revoked consent and without the “prior expressed consen ” of the
Plaintiff.

23. SANTANDER attempted to collect a debt from the Plaintiff by this campaign of telephone
calls.

24. SANTANDER intentionally harassed and abused Plaintiff on numerous occasions by calling
several times during one day, and on back-to~back days, with such frequency as can reasonably be
expected to harass.

25. On information and belief, the telephone calls were placed using automated telephone
dialing equipment, without human intervention The Court in Nelson v. Sanmnder Consumer USA,
Inc. (No. 11-CV-307-BBC, --- F. Supp. 2d ---, 2013 WL 1141009 (W.D. Wis., Mar. 8, 2013)) found
that the Defendant used an Automatic Telephone Dialing System and/or predictive dialer within the
scope of § 227(a)(1) and the FCC’s order.

26. Each call made to the Plaintiff was made using an “automatic telephone dialing system”
which has the capacity to store or produce telephone numbers to be called, using a random or

Sequential number generator; and to dial such numbers as specified by 47 U.S.C §227(a)(1).

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27. The autodialer calls from Defendant came from the telephone number, including but not
limited to, 888-222-4227; and when that number is called, an automated voice answers and
identifies itself as “Santander Consumer USA”

28. Each call SANTANDER made to the Plaintist cell phone was done so without the “express
permission” of the Plaintiff.

29. Plaintiff is the subscriber, regular user and carrier of the cellular telephone number, (727)
***-7997, and was the called party and recipient of Defendant’s autodialer calls.

30. SANTANDER has a corporate policy to use an automatic telephone dialing system or a pre-
recorded or artificial voice to individuals just as they did to the Plaintiff’ s cellular telephone in this
case.

31. SANTANDER’s corporate policy is Structured as to continue to call individuals like the
Plaintiff, despite these individuals asking to SANTANDER to not call anymore.

32. SANTANDER has numerous other federal lawsuits pending against them alleging similar
violations as stated in this complaint

33. SANTANDER has had numerous complaints from consumers against them across the
country asking to not be called, however SANTANDER continues to call.

34. SANTANDER’s corporate policy provided no means for the Plaintiff to have his number
removed from the call list.

35. Plaintiff did expressly revoke consent to SANTANDER’s placement of telephone calls to
Plaintiff’s cellular telephone by the use of an automatic telephone dialing system or a pre-recorded
or artificial voice prior to SANTANDER’s placement of the calls.

36. None of SANTANDER’S telephone calls placed to Plaintiff were for “emergency purposes”

as specified in 47 U.S.C. §227(b)(1)(A).

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37. SANTANDER willfully and/or knowingly violated the TCPA with respect to the Plaintiff.

COUNT I
(Violation of the TCPA)

38. Plaintiff incorporates Paragraphs 1 through 37 above.
39. Defendant willfully violated the TCPA with respect to the Plaintiff, especially for each of
the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified Defendant to stop
calling Plaintiff. When the defendant told Defendant’s representative in January 2014 to stop
calling, the representative responded, “the computers are programmed to blow up people’s phones
up that are late. He wishes he could stop it but he can’t. Only if the account is current, it will
automatically stop”.
40. Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for each of
the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified Defendant to stop
calling Plaintiff.
41. SANTANDER repeatedly placed non-emergency telephone calls to Plaintiff’s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff s prior express consent in violation of federal law, including 47 U.S.C § 227(b)(l)(A)(iii).
WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against for statutory damages, punitive damages, actual damages, costs, interest, attorney
fees, enjoinder from further violations of these parts and any other Such relief the court may deem
just and proper.

MT_IL
(Violation of the FCCPA)

42. Plaintiff incorporates paragraphs 1 through 37 above.

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43. At all times relevant to this action SANTANDER is subject to and must abide by the laws of
Florida, including Florida Statute § 559.72.

44. SANTANDER has violated Florida Statute §559.72(7) by willfully communicating with the
debtor or any member of her or his family with such frequency as can reasonably be expected to
harass the debtor or her or his family.

45. SANTANDER has violated Florida Statute §559.72(7) by willfully engaging in conduct
which can reasonably be expected to abuse or harass the debtor or any member of her or his family.
46. SANTANDER’s actions have directly and proximately resulted in Plaintiffs prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against for statutory damages, punitive damages, actual damages, costs, interest, attorney
fees, enjoinder from further violations of these parts and any other such relief the court may deem
just and proper.

Respectliilly submitted,
/s/ Tav Gomez
Octavio “Tav” Gomez, Esquire
Morgan & Morgan, Tampa, P.A.
One Tampa City Center
201 N. Franklin Street, 7th Floor
Tampa, FL 33602
Tele: (813) 223-5505
Fax: (813) 223-5402
Florida Bar #: 338620

Attorney for Plaintiff
TGomez@ForThePeople.com

 

